                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
In re: ARK LABORATORY, LLC,                  Case: 23-43403-MLO
Debtor                                       Chapter 11
PAUL R. HAGE, solely in his                  Hon. Maria L. Oxholm
capacity as Liquidating Trustee
of the Ark Laboratory Trust,
                                             Plaintiff, Adv. P. Case No. 23-04496-LO
v
JAMES A. GROSSI, an Individual,
2210/305 LLC, a Michigan limited liability
company, BRIAN TIERNEY, Individually
and as Trustee of the TIERNEY FAMILY
TRUST DATED 12/21/2018, NAMEER
KIMINAIA, Individually and as Trustee of
the NAMEER KIMINAIA LIVING TRUST
DATED 5/31/2019, TIERNEY FAMILY
TRUST DATED 12/21/2018, NAMEER
KIMINAIA LIVING TRUST DATED
5/31/2019, HAMID SATTAR, ION
DIAGNOSTIC, LLC, a Michigan limited
liability company, and ION MARKETING,
LLC, a Michigan limited liability company,
Defendants.
________________________________/
                                    ANSWER TO COMPLAINT
      2210/305 LLC (“2210/305”), a Michigan limited liability company, through Morris

B. Lefkowitz and for its Answer to Complaint and Affirmative Defenses state as follows:

                                 PRELIMINARY STATEMENT

      1. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

          paragraph based upon lack of sufficient information, and leave Plaintiff to his

          proofs, except Defendant denies all express or implied allegations of

          wrongdoing against it because they are untrue.

      2. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

          paragraph based upon lack of sufficient information, and leave Plaintiff to his




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       proofs, except Defendant denies all express or implied allegations of

       wrongdoing against it because they are untrue.

    3. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs, except Defendant denies all express or implied allegations of

       wrongdoing against it because they are untrue.

    4. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs, except Defendant denies all express or implied allegations of

       wrongdoing against it because they are untrue.

    5. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs, except Defendant denies all express or implied allegations of

       wrongdoing against it because they are untrue.

    6. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    7. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    8. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his




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       proofs, except Defendant denies all express or implied allegations of

       wrongdoing against it because they are untrue.

                                JURSIDICTION AND VENUE

    9. Defendant, 2210/305 LLC admits the factual allegations contained in this

       paragraph.

    10. Defendant, 2210/305 LLC admits the factual allegations contained in this

       paragraph.

    11. Defendant, 2210/305 LLC admits the factual allegations contained in this

       paragraph.

    12. Defendant, 2210/305 LLC consents to entry of final orders or judgments of

       the Bankruptcy Court.

                                           PARTIES

    13. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs. Defendant, 2210/305 LLC further states that the referenced

       documents speak for themselves.

    14. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs. Defendant, 2210/305 LLC further states that the referenced

       documents speak for themselves.

    15. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.




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    16. Defendant 2210/305 LLC admits the allegations in this paragraph.

    17. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    18. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    19. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    20. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    21. Defendant 2210/305 LLC states that this paragraph contains legal

       conclusions for which no response is required. To the extent a response is

       required, 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    22. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.




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    23. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    24. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave

    25. Defendant, 2210/305 LLC neither admit nor deny the allegations in this

       paragraph based upon lack of sufficient information, and leave Plaintiff to his

       proofs.

    26. Defendant 2210/305 LLC states that this paragraph contains legal

       conclusions for which no response is required. To the extent a response is

       required, 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    27. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    28. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    29. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.




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                  BACKGROUND AND STATEMENT OF FACTS

A. Formation and Company Governance

    30. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    31. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    32. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    33. Defendant 2210/305 LLC admits the allegations in this paragraph.

    34. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    35. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    36. Defendant 2210/305 LLC admits the allegations in this paragraph.

    37. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.




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    38. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    39. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    40. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    41. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    42. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    43. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

B. The Redemption Transaction

    44. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.




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    45. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    46. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    47. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    48. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    49. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    50. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    51. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.




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    52. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    53. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs and further states that the referenced document speaks for itself.

    54. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    55. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    56. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs and further states that the referenced document speaks for itself.

    57. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs.

    58. Defendant 2210/305 LLC neither admits nor denies the allegations in this

       paragraph based upon lack of sufficient information, and leaves Plaintiff to his

       proofs and further states that the referenced document speaks for itself.




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     59. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     60. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     61. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     62. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     63. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     64. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     65. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.




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     66. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     67. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     68. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     69. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs and further states that the referenced document speaks for itself.

     70. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack sufficient information and leaves Plaintiffs to his

        proofs, except 2210/305 LLC denies all express or implied allegations of

        wrongdoing because they are untrue.

     71. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     72. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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C. The Managers’ Breaches of their Fiduciary Duties in Connection with the

   Redemption

     73. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     74. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     75. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     76. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     77. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     78. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     79. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     80. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

D. Ark’s Missing Redemption Payables as Further Evidence of Breaches

   Fiduciary Duities.

     81. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     82. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     83. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     84. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     85. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     86. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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E. Grossi’s Mismanagement Subsequent to the Redemption

     87. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     88. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     89. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     90. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     91. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

F. Grossi’s Compensation and Expense Reimbursement

     92. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     93. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     94. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     95. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     96. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     97. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

G. The Debtor Runs out of Money and Borrows Additional Funds from

   Peninsula and Then from Grossi

     98. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     99. Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     100.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     101.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     102.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     103.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     104.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

H. Grossi’s Unauthorized Post-Petition Transfers

     105.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     106.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     107.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

I. The Debtor’s Demise and the Commencement of the Bankruptcy




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     108.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     109.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     110.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     111.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

                                        CLAIMS FOR RELIEF

                                           COUNT I
                                Breach of Duty of Loyalty Pursuant to
                                11 .S.C. §544 and M.C.L. §450.4404
                           (AS TO DEFENDANTS GROSSI, KIMINAIA,
                           TIERNEY,KIMINAIA TRUST AND TIERNEY
                           TRUST
     112.   Defendant incorporates paragraphs 1-111 as though they were fully set

        forth herein.

     113.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.




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     114.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     115.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     116.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     117.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     118.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     119.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     120.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     121.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     122.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     123.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

                                   COUNT II
                         Breach of Duty of Care Pursuant to
                      11.U.S.C. §544 and M.C.L. §450.4404
                    (AS TO DEFENDANTS GROSSI, KIMINAIA, TIERNEY,
                         KIMINAIA TRUST AND TIERNEY TRUST)

     124.   Defendant incorporates paragraphs 1-111 as though they were fully set

        forth herein.

     125.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.




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     126.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     127.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     128.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     129.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     130.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     131.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     132.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     133.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

                                COUNT III
                 Aiding and Abetting Breaches of Fiduciary Duties
                           Pursuant to 11.U.S.C. §544
                      and Applicable Michigan Common Law
            (AS TO DEFENDANTS THE TRUSTS, 2210/305, ID, AND IM)

     134.   Defendant incorporates paragraphs 1-111 as though they were fully set

        forth herein.

     135.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     136.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     137.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     138.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     139.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     140.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     141.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     142.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     143.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     144.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     145.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.




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     146.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     147.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     148.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     149.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     150.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

                                    COUNT IV
                              Breach of Duty of Care
                    Pursuant to 11.U.S.C. §544 and M.C.L. §450.4404
                         (AS TO DEFENDANT GROSSI)
     151.   Defendant incorporates paragraphs 1-111 as though they were fully set

        forth herein.

     152.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.




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     153.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     154.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     155.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     156.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

                                    COUNT V
                              Breach of Duty of Loyalty
                    Pursuant to 11.U.S.C. §544 and M.C.L. §450.4404
                              (AS TO DEFENDANT GROSSI)

     157.   Defendant incorporates paragraphs 1-111 as though they were fully set

        forth herein

     158.   Defendant 2210/305 LLC states that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.




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      159.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

         paragraph based upon lack of sufficient information, and leaves Plaintiff to his

         proofs.

      160.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

         paragraph based upon lack of sufficient information, and leaves Plaintiff to his

         proofs.

      161.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

         paragraph based upon lack of sufficient information, and leaves Plaintiff to his

         proofs.

      162.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

         paragraph based upon lack of sufficient information, and leaves Plaintiff to his

         proofs.

      163.   Defendant 2210/305 LLC neither admits nor denies the allegations in this

         paragraph based upon lack of sufficient information, and leaves Plaintiff to his

         proofs.

                                         COUNT VI
                      Avoidance of Voidable Transactions Pursuant to
                        11.U.S.C. §544(b) and M.C.L. §§566.34 (1)(a)
                                (AS TO ALL DEFENDANTS)


      164.   Defendant 2210/305 LLC incorporate paragraphs 1-163 as though they

         were fully set forth herein.

      165.   Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,




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Defendants neither admit nor deny the allegations in this paragraph based upon lack of

sufficient information, and leave Plaintiff to his proofs.

       166.   Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,

Defendants neither admit nor deny all allegations in this paragraph based upon lack of

sufficient information, and leave Plaintiff to his proofs.

       167.   Defendant 2210/305 LLC state that this paragraph contains legal

conclusions for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC deny all allegations of wrongdoing in this paragraph because

they are untrue.

       168.   Defendant 2210/305 LLC state that this paragraph contains legal

conclusions for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC neither admit nor deny the allegations in this paragraph based

upon lack of sufficient information and leave Plaintiffs to his proofs.

       169.   Defendant 2210/305 LLC state that this paragraph contains legal

conclusions for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC deny all allegations of wrongdoing in this paragraph because

they are untrue.

       170.    Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC neither admit nor deny the allegations in this paragraph based

upon lack of sufficient information and leave Plaintiffs to his proofs.




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       171.   Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC deny all allegations of wrongdoing in this paragraph because

they are untrue.

       172.   Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,

Defendant 2210/305 LLC deny all allegations of wrongdoing in this paragraph because

they are untrue.

       173.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

paragraph because they are untrue.

       174.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

paragraph because they are untrue.

       175.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

paragraph because they are untrue.

                                      COUNT VII
                      Avoidance of Voidable Transactions Pursuant to
                      11.U.S.C. §544(b) and M.C.L. §§566.34 (1)(a)
                   (AS TO DEFENDANTS SATTAR, GROSSI, KIMINAIA,
                   TIERNEY, KIMINAIA TRUST, AND TIERNEY TRUST)

       176.   Defendant 2210/305 LLC incorporate paragraphs 1-163 as though they

           were fully set forth herein.

       177.   Defendant 2210/305 LLC state that this paragraph calls for a legal

conclusion for which no response is required. To the extent a response is required,

Defendants neither admit nor deny the allegations in this paragraph based upon lack of

sufficient information, and leave Plaintiff to his proofs.



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     178.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     179.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     180.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     181.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     182.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     183.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs.

     184.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiffs to his proofs.

     185.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs




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     186.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs

     187.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     188.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     189.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                              COUNT VIII
            Avoidance of Voidable Transactions Pursuant to
                11.U.S.C. §544(b) and M.C.L. §566.35 (2)
      (AS TO DEFENDANTS TIERNEY, KIMINAIA AND THE TRUSTS)


     190.   Defendant 2210/305 LLC incorporate paragraphs 1-189 as though they

        were fully set forth herein.

     191.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     192.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. Defendants deny all allegations

        of wrongdoing in this paragraph because they are untrue.




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     193.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     194.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     195.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     196.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     197.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     198.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     199.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     200.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




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     201.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT IX
                              Avoidance of Fraudulent Transfers
                             Pursuant to 11.U.S.C. §§548 (a)(1)(A)
               (AS TO DEFENDANTS TIERNEY, KIMINAIA AND THE TRUSTS)



     202.   Defendant 2210/305 LLC incorporate paragraphs 1-201 as though they

        were fully set forth herein.

     203.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     204.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     205.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     206.   Defendant 2210/305 LLC deny all allegations of wrongdoing because they

        are untrue.

     207.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.




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     208.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs.

     209.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs

     210.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs

     211.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     212.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     213.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     214.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.




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     215.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     216.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiffs to his

        proofs.

     217.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     218.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     219.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT X
                              Avoidance of Fraudulent Transfers
                             Pursuant to 11.U.S.C. §§548 (a)(1)(B)
               (AS TO DEFENDANTS TIERNEY, KIMINAIA AND THE TRUSTS)



     220.   Defendant 2210/305 LLC incorporate paragraphs 1-219 as though they

        were fully set forth herein.

     221.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leaves Plaintiff to his proofs.




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     222.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     223.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     224.   Defendant 2210/305 LLC deny all allegations of wrongdoing because they

        are untrue.

     225.   Defendant 2210/305 LLC deny all allegations of wrongdoing because they

        are untrue.

     226.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     227.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     228.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     229.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     230.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     231.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     232.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     233.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     234.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     235.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     236.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     237.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




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     238.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT XI
                       Avoidance of Preferential Transfers to Insiders
                                Pursuant to 11.U.S.C. §547 (b)
                      (AS TO DEFENDANTS GROSSI AND/OR 2210/305)



     239.   Defendant 2210/305 LLC incorporate paragraphs 1-238 as though they

        were fully set forth herein.

     240.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     241.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     242.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     243.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     244.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     245.   Defendant 2210/305 LLC state that this paragraph contains legal

        conclusions for which no response is required. To the extent that a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     246.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     247.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     248.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                             COUNT XII
                               Avoidance of Fraudulent Transfers
                              Pursuant to 11.U.S.C. §§548 (a)(1)(A)
                           (AS TO DEFENDANTS GROSSI AND 2210/305)



     249.   Defendant 2210/305 LLC incorporate paragraphs 1-248 as though they

        were fully set forth herein.

     250.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is




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        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     251.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs, except that Defendants Grossi and 2210/305 deny the allegations in

        this paragraph because they are untrue.

     252.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     253.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     254.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     255.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     256.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     257.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     258.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     259.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs.

     260.   Defendant 2210/305 LLC neither deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     261.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                             COUNT XIII
                               Avoidance of Fraudulent Transfers
                              Pursuant to 11.U.S.C. §§548 (a)(1)(B)
                           (AS TO DEFENDANTS GROSSI AND 2210/305)



     262.   Defendant 2210/305 LLC incorporate paragraphs 1-261 as though they

        were fully set forth herein.

     263.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.




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     264.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     265.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     266.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     267.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     268.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     269.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     270.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     271.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs

     272.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     Defendants deny all allegations of wrongdoing in this paragraph because they are untrue.


                                           COUNT XIV
                             Avoidance of Post-Petition Transfers
                                 Pursuant to 11.U.S.C. §549 (a)
                      (AS TO DEFENDANTS GROSSI AND/OR 2210/305)



     273.   Defendant 2210/305 LLC incorporate paragraphs 1-273 as though they

        were fully set forth herein.

     274.   Defendant 2210/305 LLC further state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     275.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     276.   Defendant 2210/305 LLC deny the allegations of wrongdoing in this

        paragraph because they are untrue.

     277.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs




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     278.   Defendant 2210/305 LLC deny the allegations of wrongdoing in this

        paragraph because they are untrue.

                                             COUNT XV
                       Avoidance of Voidable Transactions Pursuant to
                            11 U.S.C. §544 (b) and M.C.L. §566. 34 (1)(a)
                           (AS TO DEFENDANTS GROSSI AND 2210/305)



     279.   Defendant 2210/305 LLC incorporate paragraphs 1-279 as though they

        were fully set forth herein.

     280.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     281.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     282.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs, except that Defendants Gossi and 2210/305 deny all allegations of

        wrongdoing in this paragraph because they are untrue.

     283.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     284.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     285.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     286.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     287.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     288.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs

     289.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                             COUNT XVI
                       Avoidance of Voidable Transactions Pursuant to
                            11.U.S.C. §544 (b) and M.C.L. §566.34(1)(b)
                           (AS TO DEFENDANTS GROSSI AND 2210/305)



     290.   Defendant 2210/305 LLC incorporate paragraphs 1-290 as though they

        were fully set forth herein.




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     291.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leaves Plaintiff to his proofs.

     292.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     293.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs, except that Defendants Grossi and 2210/305 deny all allegations of

        wrongdoing in this paragraph because they are untrue.

     294.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     295.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     296.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     297.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information and leave Plaintiffs to his

        proofs




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     298.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT XVII
                       Avoidance of Voidable Transactions Pursuant to
                           11.U.S.C. §544 (b) and M.C.L. §566.35(2)
                                (AS TO DEFENDANT GROSSI)



     299.   Defendant 2210/305 LLC incorporate paragraphs 1-299 as though they

        were fully set forth herein.

     300.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     301.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     302.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leaves Plaintiff to his

        proofs.

     303.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     304.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




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     305.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




                                        COUNT XVIII
                             Recovery of Unlawful Distributions
                  Pursuant to 11.U.S.C. §§450.4307 and 450.4308(1) and (3)
                                (AS TO DEFENDANT GROSSI)



     306.   Defendant 2210/305 LLC incorporate paragraphs 1-306 as though they

        were fully set forth herein.

     307.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     308.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendant 2210/305 LLC neither admit nor deny the allegations in

        this paragraph based upon lack of sufficient information, and leave Plaintiff to

        his proofs.

     309.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs



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     310.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     311.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     312.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     313.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendants neither admit nor deny the allegations in this paragraph

        based upon lack of sufficient information, and leave Plaintiff to his proofs.

     314.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     315.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     316.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     317.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     318.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     319.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     320.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs, except Defendant Gossi admits the allegations in this paragraph.

     321.   Defendant 2210/305 deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     322.   Defendant 2210/305 deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     323.   Defendant 2210/305 deny all allegations of wrongdoing in this paragraph

        because they are untrue.

     324.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




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     325.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT XIX
                               Recovery of Avoidable Transfers
                           Pursuant to 11.U.S.C. §550 (a)(1) and (2)
                                (AGAINST ALL DEFENDANTS)



     326.   Defendant 2210/305 LLC incorporate paragraphs 1-326 as though they

        were fully set forth herein.

     327.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     328.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendant 2210/305 LLC neither admit nor deny the allegations in

        this paragraph based upon lack of sufficient information, and leave Plaintiff to

        his proofs.

     329.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     330.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     331.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.




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                                            COUNT XX
                                  Recharacterization of Debt
                                  Pursuant to 11.U.S.C. §105
                                (AS TO DEFENDANT GROSSI)



     332.   Defendant 2210/305 LLC incorporate paragraphs 1-332 as though they

        were fully set forth herein.

     333.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendant 2210/305 LLC neither admit nor deny the allegations in

        this paragraph based upon lack of sufficient information, and leaves Plaintiff to

        his proofs.

     334.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     335.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     336.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     337.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.




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     338.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     339.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     340.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

        paragraph based upon lack of sufficient information, and leave Plaintiff to his

        proofs.

     341.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

     342.   Defendant 2210/305 LLC deny all allegations of wrongdoing in this

        paragraph because they are untrue.

                                            COUNT XXI
                              Equitable Subordination of Claims
                                Pursuant to 11.U.S.C. §510(c)
                                (AS TO DEFENDANT GROSSI)



     343.   Defendant 2210/305 LLC incorporate paragraphs 1-343 as though they

        were fully set forth herein.

     344.   Defendant 2210/305 LLC state that this paragraph calls for a legal

        conclusion for which no response is required. To the extent a response is

        required, Defendant 2210/305 LLC neither admit nor deny the allegations in




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         this paragraph based upon lack of sufficient information, and leave Plaintiff to

         his proofs.

      345.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

         paragraph based upon lack of sufficient information, and leave Plaintiff to his

         proofs.

      346.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

         paragraph based upon lack of sufficient information, and leave Plaintiff to his

         proofs.

      347.   Defendant 2210/305 LLC neither admit nor deny the allegations in this

         paragraph based upon lack of sufficient information, and leave Plaintiff to his

         proofs.

      348.   Defendants deny all allegations of wrongdoing in this paragraph because

         they are untrue.

      349.   Defendants deny all allegations of wrongdoing in this paragraph because

         they are untrue.

                                                Respectfully submitted,
                                                Lefkowitz Law Group


                                                /s/ Morris B. Lefkowitz
                                                By: Morris B. Lefkowitz (P31335)
                                                29777 Telegraph Road, Suite 2440
                                                Southfield, MI 48034
                                                (248) 559-0180


Dated: February 12, 2024




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                                    AFFIRMATIVE DEFENSES

       2210/305 LLC (“2210/305”), a Michigan limited liability company, through Morris B.

Lefkowitz and for their Affirmative Defenses state as follows:


       1.     Plaintiff fails to state a claim upon which relief can be granted as a matter

of law and Defendants are entitled to summary judgment.

       2.     The relief sought in the Complaint is barred under the appliable principles

of res judicata, estoppel, waiver, release, preclusion and/or laches.

       3.     The allegedly fraudulent transfers do not satisfy the prima facie elements of

11 U.S.C. §§548 AND 544, nor do they satisfy the prima facie elements under non-

bankruptcy law as incorporated by the Bankruptcy Code.

       4.     Plaintiff does not manage the entity.

       5.     Plaintiff has failed to join all necessary parties.

       6.     The Defendant(s) reserves the right to assert all other available defenses

to the Complaint, whether at law or in equity, and the ability to modify those defenses

already asserted.

       7.     To the extent that the relevant defendant(s) did not receive reasonably

equivalent value, the relevant transfer(s) were made at a time when the relevant debtor

(i) was not insolvent on the date that such transfer was made or such obligation was

incurred, or did not become insolvent as a result of such transfer or obligation; (II) was

not engaged in business or a transaction, or was not about to engage in business or a

transaction, for which any property remaining with the debtor was an unreasonably small

capital; or (III) did not intend to incur, or believe that the debtor would incur, debts that

would be beyond the debtor’s ability to pay as such debts matured.



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       8.         Plaintiff does not have standing and is not the proper party to be asserting

this claim.

       9.         The Plaintiffs’ claims are barred in whole or in part by the applicable statute

of limitations.

       10.        That Plaintiff’s claims are barred in whole or in part for the reason that

Debtor received just and reasonable value.

       11.        Plaintiffs’ claims, if any, were caused, occasioned and/or contributed, either

in whole or part, by the actions and/or omissions of others.

                                                             Respectfully submitted,
                                                             Lefkowitz Law Group


                                                             /s/ Morris B. Lefkowitz
                                                             By: Morris B. Lefkowitz (P31335)
                                                             29777 Telegraph Road, Suite 2440
                                                             Southfield, MI 48034
                                                             (248) 559-0180


Dated: February 12, 2024




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